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IN THE UNITED STATES DISTRICT coURT ‘Y;'"£D BY--- -----°~°*
FOR THE WESTERN DISTRICT oF TENNESSEE
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CLEEK, U.3. D§SF§TCT COUT
X W)DUF¥ U\i, MEMPHLS
EDWARD JOHNSON, X
X
Petitioner, X
X
vs. X NO. 04-3032-Ml/P
X
TONY PARKER, X
X
Respondent. X
X

 

ORDER OF DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Petitioner Edward Johnson, Tennessee Department of
Correction (“TDOC”) prisoner number 165254, an inmate at the
`Northwest Correctional Complex (“NWCX”) in.Tiptonville, Tennessee,
filed a petition for a Writ of habeas corpus pursuant to 28 U.S.C.
§ 2254 on December 20, 2004,l along with an application seeking
leave to proceed ip fp;ma pauperis and an affidavit attesting to
the steps taken to exhaust his claims. The Court issued an order on
May ll, 2005, denying leave to proceed gp fp;g§ pauperis and

directing the Petitioner to pay the habeas filing fee within thirty

 

1 Although Johnson also purports to invoke 28 U. S. C. § 2255 that

provision is inapplicable because Johnson is challenging only state sentences.

This document entered en the docket sheet lnc _&*j;c___-c?\p!iance
with Ruie 58 and/or 79(3) FRCF' on_&__q_______

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days. Johnson paid the habeas filing fee on May 25, 2005. The Clerk
shall record the Respondent as NWCX Warden Tony Parker.2

Johnson has filed a number of additional documents in
further support of his petition. On January 19, 2005, the Clerk
docketed a letter from Johnson asking for a copy of the docket
sheet. On January 25, 2005, Johnson filed additional documents in
support of his petition. On February 24, 2005, Johnson filed a
document, entitled.“Motion Praying Help.” On March 7, 2005, Johnson
filed a document entitled “Supplemental Amendment to Exhaustion
Issues.” On June l, 2005, Johnson filed a document entitled
“Amendment to Conform to Evidence of Exhaustion.”
I. STATE COURT PROCEDURAL HISTORY

It appears from the petition that Johnson is challenging
three separate judgments entered in the Shelby County Criminal
Court in case nos. 02-01544, 03-05806, and 04-02186. In case no.
02~01544, Johnson entered a guilty plea to the class C felony of
theft of property over $l0,000 in violation of Tenn. Code Ann. §
39-14-103 and was sentenced to three years imprisonment at 30%.
Johnson Was awarded eight hundred eighty-three (883) days jail

credit. The judgment in that case Was entered on May 6, 2004.

 

2 Although the petition lists Shelby County District Attorney General

William Gibbons, Shelby County Circuit Court Clerk.Jimmy Moore, and.Shelby County
Criminal Court Clerk William Keys as additional respondents, the only proper
respondent to a habeas petition is the petitioner's custodian. §§p Rumsfeld v.
Padilla, 124 S. Ct. 2711, 2718 (2004}. The Clerk is ORDERED to remove Gibbons,
Moore, and Keys as parties to this action.

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In case no. 04-02186, Johnson entered a guilty plea to
attempted robbery in violation of Tenn. Code Ann. § 39~12-101, a
class D felony, and was sentenced to two years at 30%. Judgment was
entered on June 29, 2004. The judgment reflects that Johnson was
awarded five hundred thirty-one (531) days jail credit.

The petition also alleges that, in case no. 03-05806,
Johnson was convicted following a jury trial of theft of property,
a class E felony, and was sentenced on April 6, 2004, to six years
consecutive to his other sentences. He was also designated a career
offender, meaning that he is eligible for release after serving
sixty percent (60%) of his sentence.
II. PETI'I'IONER'S FEDER.AL HABEAS CLAIMS

In this petition, Johnson does not challenge the validity
of any of the three convictions at issue. Instead, he challenges
TDOC's calculation of his release date on the basis that he was not
properly credited with the time spent in the Shelby County Jail.
III. ANALYSIS OF THE MERITS

This Court may “entertain an application for a writ of
habeas corpus in behalf of a person in custody pursuant to a
judgment of a State court only on the ground that he is in custody
in violation of the Constitution or laws or treaties of the United
States.” 28 U.S.C. § 2254(a). Error in the application of state law
is not cognizable in a federal habeas proceeding. Estelle v.

McGuire, 502 U.S. 62, 67-68 (1991) (“it is not the province of a

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federal habeas court to reexamine state-court determinations on
state-law questions”); Pulley v. Harris, 465 U.S. 37, 41 (1984).
Johnson’s claim seeking sentence credits derives entirely from
Tennessee statutory law. Brown v. Tennessee Dep't of Correction,
No. M1999-02519-COA-R3-CV, 2001 WL 177059 (Tenn. Ct. App. Feb. 23,
2001) (“The opportunity for an inmate to earn credits toward
reducing his sentence derives exclusively from statute. Eligibility
for such credits is determined solely from the statutes
themselves.”); see also Tenn. Code Ann. § 40-23-101© (“The trial
court shall, at the time the sentence is imposed and the defendant
is committed to jail, the workhouse or the state penitentiary for
imprisonment, render the judgment of the court so as to allow the
defendant credit on the sentence for any period of time for which
the defendant was committed and held in the . . . county jail
pending arraignment and trial. The defendant shall also receive
credit on the sentence for the time served in the jail, workhouse
or penitentiary subsequent to any conviction arising out of the
original offense for which the defendant was tried.”). This Court
therefore may not entertain Johnson’s challenge to the T®OC’s
calculation of this release date.
Even if the alleged errors pertaining to the calculation
of jail credit were cognizable under § 2254, Johnson has plainly
failed to properly exhaust this claim. Twenty-eight U.S.C. §

2254(b) states, in pertinent part:

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(1) An. application for a writ of habeas corpus on
behalf of a person. in custody' pursuant to the
judgment of a State court shall not be granted
unless it appears that-

(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) (I) there is an absence of available State
corrective process; or

(ii) circumstances exist that render such
process ineffective to protect the rights
of the applicant.
(2) An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure
of the applicant to exhaust the remedies available
in the courts of the State.
Thus, a habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. E. ., Granberry v.
Greer, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455 U.S. 509,
519 (1982); Rule 4, Rules Governing Section 2254 Cases in the
United States District Courts (“Section 2254 Rules”). A petitioner
has failed to exhaust his available state remedies if he has the
opportunity to raise his clainxby any available state procedure. 28
U.S.C. § 2254©; Preiser v. Rodriguez, 411 U.S. 475, 477, 489-90
(1973).
To exhaust his state remedies, the petitioner must have
presented the very issue on which he seeks relief from the federal
courts to the courts of the state that he claims is wrongfully

confining him. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Rust

v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). “[A] claim for relief in

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habeas corpus must include reference to a specific federal
constitutional guarantee, as well as a statement of the facts which
entitle the petitioner to relief.” Gray v. Netherland, 518 U.S.
152, 162-63 (1996). “‘[T]he substance of a federal habeas corpus
claim must first be presented to the state courts.'” ldp at 163
(quoting Picard, 404 U.S. at 278). A habeas petitioner does not
satisfy the exhaustion requirement of 28 U.S.C. § 2254(b) “by
presenting the state courts only with the facts necessary to state
a claim for relief.” lgp

Conversely, “[i]t is not enough to make a general appeal
to a constitutional guarantee as broad as due process to present
the ‘substance’ of such a claim to a state court.” ;dp When a
petitioner raises different factual issues under the same legal
theory he is required to present each factual claim to the highest
state court in order to exhaust his state remedies, O'Sullivan v.
Boerckel, 526 U.S. 838, 845 (1999); see also Pillette v. Foltz, 824
F.2d 494, 496 (6th Cir. 1987). He has not exhausted his state
remedies if he has merely presented a particular legal theory to
the courts without presenting each factual claim. Pillette, 824
F.2d at 497-98. The claims must be presented to the state courts as
a matter of federal law. “It is not enough that all the facts
necessary to support the federal clain1 were before the state
courts, or that a somewhat similar state-law claim was nede.”

Anderson v. Harless, 459 U.S. 4, 6 (1982); see also Duncan v.

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E§p;y, 513 U.S. 364, 366 (1995) (per curiam) (“If a habeas
petitioner wishes to claim that an evidentiary ruling at a state
court trial denied him the due process of law guaranteed by the
Fourteenth Amendment, he must say so, not only in federal court,
but in state court.").

Moreover, the state court decision.must rest primarily on
federal law. Coleman v. Thompson, 501 U.S. 722, 734-35 (1991). If
the state court decides a claim on an independent and adequate
state ground, such as a procedural rule prohibiting the state court
from reaching the merits of the constitutional claim, the
petitioner ordinarily is barred by this procedural default from
seeking federal habeas review. Wainwriqht v. Svkes, 433 U.S. 72,
87-88 (1977). However, the state-court decision.need not explicitly
address the federal claims; instead, it is enough that the
petitioner's brief squarely presents the issue. §miph_yp_gigmpp,
434 U.S. 332 (1978) (per curiam); §§em§l§p §§lgpip_yp_§gp§§, 124 S.
Ct. 1347, 1350-51 (2004) (a federal habeas claim is fairly
presented to a state appellate court only if that claim appears in

the petitioner's brief).

When. a petitioner's clainm have never been actually
presented to the state courts but a state procedural rule prohibits
the state court from extending further consideration to them, the

claims are deemed exhausted, but procedurally barred. Coleman, 501

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U.S. at 752-53; Teague v. Lane, 489 U.S. 288, 297-99 (1989);
Wainwright, 433 U.S. at 87-88; Bp§p, 17 F.3d at 160.

The various documents filed by Johnson on the issue of
exhaustion indicate that he has failed to properly exhaust this
claim in state court. In order to challenge TDOC's alleged failure
to award.him the appropriate sentence credits, Johnson must proceed
under the Tennessee Administrative Procedure Act by filing a
declaratory judgment action in the Davidson County Chancery Court.
Brigham v. Lack, 755 S.W.Zd 469, 471 (Tenn. Crim. App. 1988); ppg
Malone v. State, No. M2004-02826-CCA-R3-CO, 2005 WL 1330792, at *2
(Tenn. Crim. App. June 6, 2005); State v. Lyons, No.
01001-9506-€€-00198, 1996 WL 337343, at *1 (Tenn. Crim. App. June
20, 1996); Brock v. Tennessee Dep't of Corrections, No. 01-C-
019010-€0-00269, 1991 WL 136340 (Tenn. Crim. App. July 26, 1991);
State v. Kuntz, No. 01-C-019101-CR-00019, 1991 WL 101857 (Tenn.
Crim. App. June 14, 1991). Because it appears that Johnson has
failed to file a petition in the proper court, and has failed to
present his claims to Tennessee's highest court, the exhaustion
requirement has not been satisfied. £;pi§p;_yp_§gdpggp§p, 411 U.S.
at 489-90.

Because it “plainly appears from the face of the petition
and any exhibits annexed to it that the petitioner is not entitled

to relief in the district court,” summary' dismissal prior to

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service on the respondent is proper. Rule 4, Section 2254 Rules.
The petition is DISMISSED.
IV. APPEAL ISSUES

The Court must also determine whether to issue a
certificate of appealability (“COA”). The statute provides:

(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from-

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises

out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has nmde a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253©; see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA). No
§ 2254 petitioner may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which

requires a showing that “reasonable jurists could debate whether

(or, for that matter, agree that) the petition should have been

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resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” §lggg,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied.because the prisoner did not convince a judge, or,
for that nwtter, three judges, that he or she would
prevail. It is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.'”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,
463 U.S. at 893). Thus,

A prisoner seeking a COA.must prove “‘something more
than the absence of frivolity'” or the existence of mere
“good faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

Id. at 338 {quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits

with the decision of whether to issue a COA; “The question is the

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debatability of the underlying constitutional claim, not the
resolution of that debate.”).3

In this case, there can be no question that any appeal by
this Petitioner does not deserve attention for the reasons
previously stated. The Court, therefore, DENIES a certificate of
appealability.

The United States Court of Appeals for the Sixth Circuit
has held that the Prison Litigation Reform.Act of 1995 (“PLRA”), 28
U.S.C. § 1915(b), does not apply to appeals of orders denying §
2254 petitions. Kincade v. Sparkman, 117 F.3d 949, 951 (6th Cir.
1997); cf. McGore v. Wrioolesworth, 114 F.3d 601 (6th Cir. 1997)
(instructing courts regarding proper PLRA procedures in prisoner
civil-rights cases). Rather, to seek leave to appeal ;p fp;pg
pauperis in a § 2254 case, and thereby avoid the $255 filing fee
required by 28 U.S.C. §§ 1913 and 1917,4 the petitioner must seek
permission from the district court under Rule 24(a) of the Federal

Rules of Appellate Procedure. Kincade, 117 F.3d at 952. If the

 

3 By the same token, the Supreme Court also emphasized that “[o]ur
holding should not be misconstrued as directing that a COA always must issue.”
Lgp at 337. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” Id.

‘ Effective November l, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, I 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a S5 fee:

Upon, the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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motion is denied, the petitioner may renew the motion in the
appellate court.
Rule 24(a)(1) provides that:
Except as stated in Rule 24(a)(3), a party to a district-
court action who desires to appeal in forma pauperis must

file a nmtion in the district court. The party nmst
attach an affidavit that:

(A) shows in the detail prescribed by Form 4 of the
Appendix of Forms the party’s inability to pay or
to give security for fees and costs;

(B) claims an entitlement to redress; and

(C) states the issues that the party intends to
present on appeal.

Fed. R. App. P. 24(a)(1). The Rule further requires the district
court to certify in writing whether the appeal is taken in good
faith. Fed. R. App. P. 24(a)(3)(A). For the same reasons the Court
denies a certificate of appealability, the Court determines that
any appeal in this case would not be taken in good faith. It is
therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this Petitioner is not taken in good

faith, and he may not proceed on appeal ip forma pauperis.

I'I' IS SO ORDERED this Zq day of August, 2005.

mw@ll

JO PHIPPS MCCALLA
I'I‘ED STA'I‘ES DISTRIC'I‘ JUDGE

 

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STATES DITRICT OURT - WESTNER DISRICT oF TNNESEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-03032 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Edward Johnson

NORTHWEST CORRECTIONAL COl\/IPLEX
165254

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Tiptonville7 TN 38079

Honorable Jon McCalla
US DISTRICT COURT

